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Presented to the Court by` the foreman of the
Grand Jury in open Court, in the presence of
the Grand Jury and FILED in the U.S.
DISTRICT COURT at Seattle, Washington.

 

 

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Wu M. CooL, clerk

VBY (£» Deputy
”~ ' \__,_-'

UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON

 

 

AT SEATTLE
UNITED STATES OF AMERICA, N(C R 1 8 * o 9 o l J c c
Pla“mff’ INDICTMENT '
v.
THQMAS MAHONEY,
Defendant.
The Grand Jurv charges that:
COUNT 1

(Travel with Intent to Engage in a Sexual Act with a Minor)

On or about November 29, 2016, in the Western District of Washington, and
elsewhere,- the defendant, THOMAS MAHONEY, did knowingly travel in interstate
commerce, to Wit from Seattle, Washington, to the State of California, for the purpose of
engaging in illicit sexual conduct, that is, a sexual act, as that term is defined in 18 U.S.C.
§ 2246, With a person under the age of eighteen, namely MV, Which sexual act Would

constitute a violation of Title 18, United States Code, Chapter 109A.

All in violation of Title 18, United States Code, Section 2423’(b).
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INDICTMENT - l UNrrED sTATES ATTORNEY
THOMAS MAHONEY 700 STEWART STREET, SUITE 5220

SEATTLE, WASHINGTON 981_01
(206) 553-7970

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MI_Z
(Travel with Intelit to Engage in a Sexual Act with a Minor)

On or about May 15, 2017, in the Western District of Washington, and elsewhere,
the defendant, THOMAS MAHONEY, did knowingly travel in interstate commerce, to
wit from Seattle, `Washington, to the State of Californiaz_ for the purpose of engaging in
illicit sexual conduct, that is, a sexual act,as that term is\detined in 18 U.S.C. § 2246,
with a person under the age of eighteen, namely MV, which sexual act would constitute a
violation of Title 18, United States Code, Chapter lO9A.

All in violation of Title 18, United States Code, Section 2423(b).

§MF_§
(Travel with Intent to Engage in a Sexual Act with a Minor)

On or about August 31, 2017, in the Western District of Washington, and elsewhere,
the defendant,_ THOMAS MAHONEY, did knowingly travel in interstate commerce, to wit
from Seattle, Washington, to the State of California, for the purpose of engaging in illicit
sexual conduct, that is, a sexual act, as that term is defined in 18 U.S.C. § 2246, with a
person under ther age of eighteen, namely MV, which sexual act would constitute a
violation of Tittle 18, United States Code, Chapter lO9A.

All in violation of Title 18, United States Code, Section 2423(b).

COUNT 4
(Production of Child Pornography)
On a date unknown but no later than May 9, 2017, at Seattle, within the Western

f District of Washington, and elsewhere, the defendant, THOMAS MAHONEY knowingly

employed, used, persuaded, induced, enticed, and coerced MV, a minor, to engage in
sexually explicit conduct for the purpose of producing a visual depiction of such conduct,
using materials that had been mailed, shipped, and transported in and affecting interstate
and foreign commerce by any means, including by computer, and the visual depiction
was transported using any means and facility of interstate and foreign commerce.

All in violation of Title 18, United States Code, Sections 2251(a) and (e).

INDICTMENT -' 2 1 UNITED sTATEs ATToRNEY

THOMAS MAHONEY 700 STEWART STREET, SUTrE 5220
SEATTLE, WASHlNGTON 98101

(206) 553-7970

 

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ALLEGATIONS OF FORFEITURE
Upon conviction of the offenses alleged in Counts 1 through 4 of this Indictment,

THOMAS MAHONEY shall forfeit to the United States, pursuant to Title 18, United

States Code, Section 2253, any property, real or personal, used or intended to be used to

commit or promote the commission of such offenses, or any property traceable to such
property, and any and all visual depictions as described in Title 18, United States Code,
Sections 2251, which were produced, transported, mailed,, shipped, or received, in
violation of Chapter llO, Title 18, United States Code, including but not limited to:

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INDICTMENT - 3 ' UNITED sTArEs ATTORNEY

THOMAS MAHONEY 700 STEWART STREET, SUITE 5220
ry SEATTLE, WAsHINGroN 98101

(206) 553-7970

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a. Any and all images of child pornography, in whatever format and
however stored;
b. Lenova Laptop;
c. Dell Inspiron Laptop;
d. Samsung Galaxy S7 Cell Phone;
~ e. Samsung Galaxy 88 Cell Phone; and
f. ..Cybeppewer-€-S'cri'es?‘ y
A TRUE BILL:

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DATED: // A,»,~,`/ zoza='

Signature of the foreperson is redacted pursuant to the
policy of the Jua’icial Conference of the United States

 

FOREPERSON

 

ETTE L<' YES'
United States ttorney

 

Ass stant United States Attorney

0//(

CECELiA ?.`G@GSON
Assistant United States Attorney

INDICTMENT - 4
THOMAS MAHONEY

UNITED STATES ATTORNEY
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